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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




 DEBORAH K. MURPHY-DAVIDSON ,

         Plaintiff,                                         Hon. Ray Kent

 v.                                                         Case No. 1:14-cv-00779-RSK

 KENNETH J. STOLL, ET AL,

       Defendants.
 _________________________________/


                      ORDER REGARDING SETTLEMENT CONFERENCE

                The parties will appear before Magistrate Judge Phillip J. Green for a settlement

conference on November 10, 2015, at 08:30 a.m. The conference shall take place in Courtroom

740, Federal Building, 110 Michigan St. N.W., Grand Rapids, Michigan. Trial counsel shall be

present accompanied by the client (if an individual) or an officer of the client with full authority to

negotiate a settlement (if a corporation or other entity). Defendants who are officers or agencies of

state government must be represented in person by an individual, in addition to the Assistant

Attorney General, with authority to negotiate a settlement. If the defense is controlled by an

insurance company, a representative of the insurer shall also be present. Failure of counsel to be

accompanied by an appropriate client representative with actual authority to settle may result

in the imposition of sanctions or a citation for contempt of court.

                Three business days before the conference, each attorney shall submit to me a

confidential letter concerning settlement. A copy need not be provided to any other party. All
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information in the settlement letter shall remain confidential and will not be disclosed to any other

party without the approval of the writer. The confidential settlement letter shall set forth: (a) the

name and title of the party representative who will be present at the settlement conference, with

counsel’s certification that the representative will have full authority to settle, without the need to

consult with any other party; (b) a very brief explanation of the nature of the case, including an

identification of any parties added or dismissed since the time of filing; (c) a history of settlement

negotiations to date, including all offers, demands and responses (the letter should not, however,

divulge any offer made in the context of a voluntary facilitative mediation); (d) the policy limits of

any relevant insurance coverage; (e) the limits on settlement authority given to counsel by the client;

(f) that party's suggestions concerning the most productive approach to settlement; (g) any other

matter that counsel believes will improve the chances for settlement. Failure of counsel to submit

the ordered confidential letter concerning settlement may result in the imposition of sanctions

or a citation for contempt of court.

               All settlement letters shall be sent via facsimile to the offices of Magistrate Judge

Green at (616) 456-2074; they should not be directed to the Clerk's Office or e-filed in the case.

               IT IS SO ORDERED.


Date: August 10, 2015                                           /s/ Phillip J. Green
                                                               PHILLIP J. GREEN
                                                               United States Magistrate Judge




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